Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 1 of 11 PAGEID #: 1
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 2 of 11 PAGEID #: 2
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 3 of 11 PAGEID #: 3
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 4 of 11 PAGEID #: 4
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 5 of 11 PAGEID #: 5
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 6 of 11 PAGEID #: 6
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 7 of 11 PAGEID #: 7
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 8 of 11 PAGEID #: 8
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 9 of 11 PAGEID #: 9
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 10 of 11 PAGEID #: 10
Case: 2:21-cr-00023-MHW Doc #: 1 Filed: 01/26/21 Page: 11 of 11 PAGEID #: 11
